                  Case 17-30132                         Doc 316           Filed 07/30/18 Entered 07/30/18 14:31:43                                                Desc Main
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                                             Individual Estate Property Record and Report                                                                                    Page: 1

                                                              Asset Cases
Case No.:     17-30132                                                                                     Trustee Name:      (530460) Joseph W. Grier
Case Name:         TSI HOLDINGS, LLC                                                                       Date Filed (f) or Converted (c):       01/27/2017 (f)
                                                                                                           § 341(a) Meeting Date:          05/25/2017
For Period Ending:           06/30/2018                                                                    Claims Bar Date:        08/23/2017

                                    1                                 2                   3                     4              5                    6                  7               8

                        Asset Description                          Petition/      Estimated Net Value        Property      Sale/Funds          Asset Fully         Lien Amount     Exempt
             (Scheduled And Unscheduled (u) Property)            Unscheduled     (Value Determined By        Formally    Received by the    Administered (FA)/                     Amount
                                                                    Values              Trustee,            Abandoned        Estate          Gross Value of
                                                                                      Less Liens,           OA=§554(a)                      Remaining Assets
                                                                                      Exemptions,            abandon.
  Ref. #                                                                           and Other Costs)

    1       BROKERAGE ACCOUNT ACCOUNT AT T.R.                        44,712.67                 44,712.67                       31,028.64                    FA              0.00            0.00
            WINSTON & COMPANY, XXXXXX1049
            Brokerage Account Account at T.R. Winston &
            Company, xxxxxx1049

    2       CHECKING ACCOUNT AT BANK OF AMERICA                           0.00                      0.00                             0.00                   FA              0.00            0.00
            CHECKING ACCOUNT, XXXXXX3191
            Checking Account at Bank of America Checking
            Account, xxxxxx3191

    3       CLAIMS AGAINST ESTATE OF RICHARD C.                       Unknown                  Unknown                               0.00               Unknown             0.00            0.00
            SISKEY, MECKLENBURG CO. ESTATE FILE
            17-E-243 INCLUDING BUT NOT LIMITED TO
            LIFE INSURANCE PROCEEDS PAID TO
            DIANE SISKEY & OTHERS.. AMOUNT
            REQUESTED: UNKNOWN
            Claims against Estate of Richard C. Siskey,
            Mecklenburg Co. Estate File 17-E-243 including
            but not limited to life insurance proceeds paid to
            Diane Siskey & others.. Amount Requested:
            Unknown

    4       CLAIMS AGAINST DIANE SISKEY INCLUDING                     Unknown                  Unknown                               0.00               Unknown             0.00            0.00
            BUT NOT LIMITED TO LIFE INSURANCE
            PROCEEDS PAID TO DIANE SISKEY.
            AMOUNT REQUESTED: UNKNOWN
            Claims against Diane Siskey including but not
            limited to life insurance proceeds paid to Diane
            Siskey. Amount Requested: Unknown

    5       CLAIM AGAINST SOUTHPARK PARTNERS,                         Unknown                  Unknown                               0.00               Unknown             0.00            0.00
            LLC. AMOUNT REQUESTED: UNKNOWN
            Claim against Southpark Partners, LLC. Amount
            Requested: Unknown

    6       CLAIM AGAINST WSC HOLDINGS, LLC.                          Unknown                  Unknown                               0.00               Unknown             0.00            0.00
            AMOUNT REQUESTED: UNKNOWN
            Claim against WSC Holdings, LLC. Amount
            Requested: Unknown

    7       CLAIM AGAINST SHARON ROAD                                 Unknown                  Unknown                               0.00               Unknown             0.00            0.00
            PROPERTIES, LLC. AMOUNT REQUESTED:
            UNKNOWN
            Claim against Sharon Road Properties, LLC.
            Amount Requested: Unknown

    8       VARIOUS AVOIDANCE ACTIONS, INCLUDING                      Unknown                  Unknown                               0.00               Unknown             0.00            0.00
            "NET WINNER" ACTIONS. AMOUNT
            REQUESTED: UNKNOWN
            Various avoidance actions, including "net
            winner" actions. Amount Requested: Unknown

    9       CLAIMS AGAINST OTHER PARTIES,                             Unknown                  Unknown                               0.00               Unknown             0.00            0.00
            UNKNOWN. AMOUNT REQUESTED:
            UNKNOWN
            Claims against other parties, unknown. Amount
            Requested: Unknown

   10       CLAIM AGAINST SISKEY INDUSTRIES, LLC.                     Unknown                  Unknown                               0.00               Unknown             0.00            0.00
            AMOUNT REQUESTED: UNKNOWN
            Claim against Siskey Industries, LLC. Amount
            Requested: Unknown

   11       Bank account proceeds seized by US (u)                    Unknown                  Unknown                          8,422.01                    FA              0.00            0.00


   12*      INTERESTS_IN_INSURANCE_POLICIES (u)                           0.00                      0.00                      440,000.00                   0.00             0.00            0.00

            Claim against Denise Rhodes for insurance
            proceeds (See Footnote)

                                                                    $44,712.67                $44,712.67                     $479,450.65                  $0.00            $0.00           $0.00
  12        Assets Totals (Excluding unknown values)
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                                  Individual Estate Property Record and Report                                                       Page: 2

                                                   Asset Cases
Case No.:    17-30132                                                          Trustee Name:      (530460) Joseph W. Grier
Case Name:      TSI HOLDINGS, LLC                                              Date Filed (f) or Converted (c):   01/27/2017 (f)
                                                                               § 341(a) Meeting Date:     05/25/2017
For Period Ending:      06/30/2018                                             Claims Bar Date:      08/23/2017
     RE PROP# 12         Claim against Denise Rhodes for insurance proceeds




Major activities affecting case closing which are not reflected above, and matters pending, date of hearing or sale, and other action:

                            The Trustee has filed a motion requesting authority to make an interim distribution of funds to be provided by
                            Diane Siskey to claimants. The Trustee has requested an Order terminating the joint administration of the
                            Sharon Road Properties, LLC case, Case No. 17-30339. The Court has approved procedures for an auction
                            of Sharon Road Properties' assets on July 19, 2018.

Initial Projected Date Of Final Report (TFR): 03/31/2019              Current Projected Date Of Final Report (TFR):     03/31/2019


                     07/30/2018                                                     /s/Joseph W. Grier
                        Date                                                       Joseph W. Grier


Copy Served On: Shelley K. Abel
                Bankruptcy Administrator
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                                                             Form 2
                                                                                                                                               Page: 2-1
                                             Cash Receipts And Disbursements Record
Case No.:              17-30132                                         Trustee Name:                   Joseph W. Grier (530460)
Case Name:             TSI HOLDINGS, LLC                                Bank Name:                      Rabobank, N.A.
Taxpayer ID #:         **-***4746                                       Account #:                      ******7000 Checking
For Period Ending: 06/30/2018                                           Blanket Bond (per case limit): N/A
                                                                        Separate Bond (if applicable): $60,000.00
    1          2                         3                                  4                                5                    6                    7

  Trans.    Check or       Paid To / Received From          Description of Transaction      Uniform      Deposit            Disbursement       Account Balance
   Date      Ref. #                                                                        Tran. Code      $                      $

 04/12/17              United States Treasury          Refund of photocopy request fee     1280-002              150.00                                      150.00
                                                       sent to IRS by Grier Furr & Crisp

 04/28/17              Rabobank, N.A.                  Bank and Technology Services        2600-000                                    10.00                 140.00
                                                       Fees

 05/16/17     {1}      T. R. Winston & Comany, LLC     close out brokerage account         1129-000          31,028.64                                     31,168.64

 05/31/17              Rabobank, N.A.                  Bank and Technology Services        2600-000                                    10.00               31,158.64
                                                       Fees

 06/13/17     101      Internatiional Sureties, Ltd.   Increased bond # 016073590          3110-000                                   138.00               31,020.64

 06/30/17              Rabobank, N.A.                  Bank and Technology Services        2600-000                                    44.75               30,975.89
                                                       Fees

 07/10/17     {11}     United States Treasury          Turnover by US of seized funds      1229-000           8,422.01                                     39,397.90
                                                       (D.E. 69)

 07/21/17     102      Bank of America                 Invoice 501630 - document           2990-000                                   379.59               39,018.31
                                                       production

 07/31/17              Rabobank, N.A.                  Bank and Technology Services        2600-000                                    50.72               38,967.59
                                                       Fees

 09/14/17              Rabobank, N.A.                  Bank and Technology Services        2600-000                                    61.65               38,905.94
                                                       Fees

 09/29/17              Rabobank, N.A.                  Bank and Technology Services        2600-000                                    54.13               38,851.81
                                                       Fees

 10/31/17              Rabobank, N.A.                  Bank and Technology Services        2600-000                                    59.60               38,792.21
                                                       Fees

 11/30/17              Rabobank, N.A.                  Bank and Technology Services        2600-000                                    55.79               38,736.42
                                                       Fees

 12/05/17     103      International Sureties, Ltd.    Chapter 7 bond                      3110-000                                   300.00               38,436.42

 12/29/17              Rabobank, N.A.                  Bank and Technology Services        2600-000                                    53.61               38,382.81
                                                       Fees

 02/08/18              Denise Rhodes/Ben Lowder        Denise Rhodes/Ben Lowder                            440,000.00                                     478,382.81
                       insurance settlements           settlements

              {12}                                     Denise Rhodes settlement            1249-000                                                       478,382.81

                                                                           $220,000.00

              {12}                                     Ben Lowder settlement               1249-000                                                       478,382.81

                                                                           $220,000.00

 02/28/18              Rabobank, N.A.                  Bank and Technology Services        2600-000                                   346.86              478,035.95
                                                       Fees

 03/19/18     104      Internatiional Sureties, Ltd.   Bond                                3110-000                                3,099.00               474,936.95

 03/30/18              Rabobank, N.A.                  Bank and Technology Services        2600-000                                   686.54              474,250.41
                                                       Fees

 04/26/18     105      Middleswarth & Bowers           Professional fees per order         3310-000                               70,831.44               403,418.97
                                                       4/23/18 (D.E. 234)

 04/26/18     106      Grier, Furr & Crisp, PA         Professional fees per order         3110-000                              200,000.00               203,418.97
                                                       4/23/18 (D.E. 234)

                                                                                      Page Subtotals:    $479,600.65           $276,181.68         true

{ } Asset Reference(s)                                                                                                    ! - transaction has not been cleared
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                                              Cash Receipts And Disbursements Record
Case No.:                17-30132                                        Trustee Name:                   Joseph W. Grier (530460)
Case Name:               TSI HOLDINGS, LLC                               Bank Name:                      Rabobank, N.A.
Taxpayer ID #:           **-***4746                                      Account #:                      ******7000 Checking
For Period Ending: 06/30/2018                                            Blanket Bond (per case limit): N/A
                                                                         Separate Bond (if applicable): $60,000.00
    1              2                      3                                   4                               5                    6                    7

  Trans.     Check or       Paid To / Received From        Description of Transaction        Uniform      Deposit            Disbursement        Account Balance
   Date       Ref. #                                                                        Tran. Code      $                      $

 04/30/18          107   EcoScribe                       Deposition transcript (D.E. 241]   3120-000                                   925.95            202,493.02

 04/30/18                Rabobank, N.A.                  Bank and Technology Services       2600-000                                   659.40            201,833.62
                                                         Fees

 05/31/18                Rabobank, N.A.                  Bank and Technology Services       2600-000                                   349.21            201,484.41
                                                         Fees

 06/28/18          108   Middleswarth Bowers & Company   Accounting fees (D.E. 270)         3310-000                               19,031.35             182,453.06

 06/29/18                Rabobank, N.A.                  Bank and Technology Services       2600-000                                   280.14            182,172.92
                                                         Fees

                                          COLUMN TOTALS                                                     479,600.65             297,427.73           $182,172.92
                                                Less: Bank Transfers/CDs                                            0.00                  0.00
                                          Subtotal                                                          479,600.65             297,427.73
            true                                Less: Payments to Debtors                                                                 0.00

                                          NET Receipts / Disbursements                                     $479,600.65            $297,427.73




                                                                                                                                                     false

{ } Asset Reference(s)                                                                                                     ! - transaction has not been cleared
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                                             Cash Receipts And Disbursements Record
Case No.:              17-30132                                       Trustee Name:                      Joseph W. Grier (530460)
Case Name:             TSI HOLDINGS, LLC                              Bank Name:                         Rabobank, N.A.
                                                                                                         ******7001 Joseph W. Grier, III, Escrow Agent
Taxpayer ID #:         **-***4746                                     Account #:
                                                                                                         under agmt d'd 8/4/17
For Period Ending: 06/30/2018                                         Blanket Bond (per case limit): N/A
                                                                      Separate Bond (if applicable): $60,000.00
    1          2                         3                                 4                                 5                   6                    7

  Trans.    Check or       Paid To / Received From         Description of Transaction       Uniform       Deposit          Disbursement        Account Balance
   Date      Ref. #                                                                        Tran. Code       $                    $

 08/28/17              Grier Furr & Crisp PA Trust    Net proceeds from sale of Siskey                    1,898,221.29                               1,898,221.29
                       Account                        home & Diane Siskey personal
                                                      property

                                                      Net proceeds from sale of Diane       1280-002                                                 1,898,221.29
                                                      Siskey personal property

                                                                           $75,585.00

                                                      Net proceeds from sale of Siskey      1280-002                                                 1,898,221.29
                                                      home

                                                                         $1,822,636.29

 08/31/17              Rabobank, N.A.                 Bank and Technology Services          2600-000                                 243.67          1,897,977.62
                                                      Fees

 09/14/17              Rabobank, N.A.                 Bank and Technology Services          2600-000                                 -243.67         1,898,221.29
                                                      Fees

 12/05/17     101      International Sureties, Ltd.   Chapter 7 bond                        3110-004                                 300.00          1,897,921.29
                                                      Voided on 12/05/2017

 12/05/17     101      International Sureties, Ltd.   Chapter 7 bond                        3110-004                                 -300.00         1,898,221.29
                                                      Voided: check issued on
                                                      12/05/2017

 01/31/18              Rabobank, N.A.                 Bank and Technology Services          2600-000                              2,791.04           1,895,430.25
                                                      Fees

 02/08/18              Rhodes/Lowder settlements      Rhodes/Lowder settlement funds                        440,000.00                               2,335,430.25

              {12}                                    Denise Rhodes settlement              1249-000                                                 2,335,430.25

                                                                          $220,000.00

              {12}                                    Ben Lowder settlement                 1249-000                                                 2,335,430.25

                                                                          $220,000.00

 02/08/18              Rhodes/Lowder settlements      Deposit Reversal:                                    -440,000.00                               1,895,430.25
                                                      Rhodes/Lowder settlement funds

              {12}                                    Denise Rhodes settlement              1249-000                                                 1,895,430.25

                                                                          -$220,000.00

              {12}                                    Ben Lowder settlement                 1249-000                                                 1,895,430.25

                                                                          -$220,000.00

 02/09/18              Rabobank, N.A.                 Bank and Technology Services          2600-000                              -2,791.04          1,898,221.29
                                                      Fees

 04/26/18     102      Middleswarth & Bowers          Professional fees per order of        3310-004                             70,831.44           1,827,389.85
                                                      4/23/18 (D.E. 234)
                                                      Voided on 04/26/2018

 04/26/18     102      Middleswarth & Bowers          Professional fees per order of        3310-004                             -70,831.44          1,898,221.29
                                                      4/23/18 (D.E. 234)
                                                      Voided: check issued on
                                                      04/26/2018




                                                                                       Page Subtotals:   $1,898,221.29                $0.00        true

{ } Asset Reference(s)                                                                                                   ! - transaction has not been cleared
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                                         Cash Receipts And Disbursements Record
Case No.:               17-30132                                   Trustee Name:                  Joseph W. Grier (530460)
Case Name:              TSI HOLDINGS, LLC                          Bank Name:                     Rabobank, N.A.
                                                                                                  ******7001 Joseph W. Grier, III, Escrow Agent
Taxpayer ID #:          **-***4746                                 Account #:
                                                                                                  under agmt d'd 8/4/17
For Period Ending: 06/30/2018                                      Blanket Bond (per case limit): N/A
                                                                   Separate Bond (if applicable): $60,000.00
    1             2                  3                                   4                              5                   6                    7

  Trans.    Check or       Paid To / Received From      Description of Transaction    Uniform      Deposit            Disbursement       Account Balance
   Date      Ref. #                                                                  Tran. Code      $                      $

                                      COLUMN TOTALS                                                1,898,221.29                   0.00         $1,898,221.29
                                             Less: Bank Transfers/CDs                                        0.00                 0.00
                                      Subtotal                                                     1,898,221.29                   0.00
           true                              Less: Payments to Debtors                                                            0.00

                                      NET Receipts / Disbursements                                $1,898,221.29                  $0.00




                                                                                                                                             false

{ } Asset Reference(s)                                                                                              ! - transaction has not been cleared
                 Case 17-30132               Doc 316         Filed 07/30/18 Entered 07/30/18 14:31:43                               Desc Main
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                                       Cash Receipts And Disbursements Record
Case No.:           17-30132                                         Trustee Name:                      Joseph W. Grier (530460)
Case Name:          TSI HOLDINGS, LLC                                Bank Name:                         Rabobank, N.A.
                                                                                                        ******7001 Joseph W. Grier, III, Escrow Agent
Taxpayer ID #:      **-***4746                                       Account #:
                                                                                                        under agmt d'd 8/4/17
For Period Ending: 06/30/2018                                        Blanket Bond (per case limit): N/A
                                                                     Separate Bond (if applicable): $60,000.00

                                       Net Receipts:                $2,377,821.94
                            Plus Gross Adjustments:                         $0.00
                           Less Payments to Debtor:                         $0.00
                 Less Other Noncompensable Items:                   $1,898,371.29

                                          Net Estate:                $479,450.65




                                                                                                              NET                   ACCOUNT
                                 TOTAL - ALL ACCOUNTS                              NET DEPOSITS          DISBURSEMENTS              BALANCES
                                 ******7000 Checking                                    $479,600.65             $297,427.73            $182,172.92

                                 ******7001 Joseph W. Grier, III, Escrow Agent          $1,898,221.29                     $0.00         $1,898,221.29
                                 under agmt d'd 8/4/17
                                                                                        $2,377,821.94              $297,427.73          $2,080,394.21




                 07/30/2018                                                      /s/Joseph W. Grier
                    Date                                                         Joseph W. Grier
